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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
United States of America,

            Plaintiff,
v.                                          ORDER
                                            Criminal No. 10‐187
Amina Farah Ali,

           Defendant.
__________________________________________________________________

       Jeffrey S. Paulsen, Assistant United States Attorney, and Steven Ward,
Trial Attorney, U.S. Department of Justice, counsel for Plaintiff.

      Daniel M. Scott, Kelley, Wolter & Scott, P.A., counsel for Defendant Amina
Farah Ali.
__________________________________________________________________

      This matter is before the Court on Defendant Ali’s motion for

reconsideration of detention order.

      Based on the files, record and proceedings herein,

      IT IS HEREBY ORDERED that Defendant’s Motion for Reconsideration of

Detention Order [Doc. No. 192] is GRANTED as follows: on April 19, 2012, the

Defendant shall be released to the R.S. Metro Halfway House, St. Paul,

Minnesota. Defendant shall be transported to R.S. Metro by either the Ramsey

County Sheriff’s Department or the U.S. Marshal’s Service. The conditions of



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release will be set forth in a separate order.

Date: April 18, 2012




                                 s/ Michael J. Davis
                                 Michael J. Davis
                                 Chief Judge
                                 United States District Court




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